         Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 1 of 17


 1   PILLSBURY WINTHROP SHAW PITTMAN LLP
     PHILIP S. WARDEN (SBN 54752)
 2   philip.warden@pillsburylaw.com
     CLARK THIEL (SBN 190212)
 3   clark.thiel@pillsburylaw.com
     Four Embarcadero Center, 22nd Floor
 4   San Francisco, CA 94111-5998
     Telephone: 415-983-1000
 5   Facsimile: 415-983-1200
 6
     PILLSBURY WINTHROP SHAW PITTMAN LLP
 7   DEREK M. MAYOR (SBN 307171)
     derek.mayor@pillsburylaw.com
 8   2600 Capitol Avenue, Suite 300
     Sacramento, CA 95816-5930
 9   Telephone: 916-329-4700
     Facsimile: 916-441-3583
10
     KINGSLEY BOGARD
11   ROBERT E. KINGSLEY (SBN 59596)
     Prosecuting Authority for Plaintiff
12   rkingsley@kblegal.us
     600 Coolidge Drive
13   Suite 160
     Folsom, CA 95630
14   Telephone: 916-932-2500
15   Attorneys for Plaintiff SACRAMENTO REGIONAL
     PUBLIC SAFETY COMMUNICATIONS CENTER
16   D/B/A SACRAMENTO REGIONAL FIRE/EMS
     COMMUNICATIONS CENTER
17
                                       UNITED STATES DISTRICT COURT
18
                                      EASTERN DISTRICT OF CALIFORNIA
19

20
     SACRAMENTO REGIONAL PUBLIC                        Case No.
21   SAFETY COMMUNICATIONS CENTER
     D/B/A SACRAMENTO REGIONAL                         COMPLAINT FOR: (1) BREACH OF
22   FIRE/EMS COMMUNICATIONS CENTER                    CONTRACT; (2) CALIFORNIA
                                                       STATUTORY UNFAIR COMPETITION
23                       Plaintiff,                    [CAL. BUS. & PROF. CODE §§ 17200 et
                                                       seq.]; (3) FRAUD; AND (4) CALIFORNIA
24                vs.                                  FALSE CLAIMS ACT [CAL. GOV’T CODE
                                                       § 12650, et seq.]
25   TYLER TECHNOLOGIES, INC., a Delaware
     corporation F/K/A NEW WORLD SYSTEMS
26   CORPORATION, a Surrendered California
     corporation                                       DEMAND FOR JURY TRIAL
27
                         Defendant.
28

     00094592.2                                                                         -1-
                                                                                 COMPLAINT
     4812-7865-5338.v2
         Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 2 of 17


 1                                          NATURE OF THE ACTION
 2                1.     Plaintiff, the Sacramento Regional Public Safety Communications Center d/b/a

 3     Sacramento Regional Fire/EMS Communications Center (“SRFECC”), is a California Joint

 4     Powers Authority (“JPA”), formed by: City of Sacramento (“Sacramento”), Sacramento

 5     Metropolitan Fire District (“SMFD”), City of Folsom (“Folsom”), and the Cosumnes Community

 6     Services District (“CCSD”) (collectively referred to herein as “Member Agencies”). SRFECC also

 7     provides services to the following six volunteer fire agencies as contract entities: Courtland Fire

 8     Protection District, Herald Fire Protection District, Isleton Fire Protection District, River Delta Fire

 9     Protection District, Walnut Grove Fire Protection District, and Wilton Fire Protection District

10     (collectively referred to herein as the “Contract Entities”).

11                2.     The SRFECC is responsible for providing public safety communications and dispatch

12     services to its Member Agencies and Contract Entities. These services include but are not limited

13     to information technology for routing and dispatching 9-1-1 emergency fire and medical aid calls

14     for the greater Sacramento region, which covers approximately 1,000 square miles, servicing

15     approximately 1.5 million people, and is one of the nation’s largest communication centers. In

16     2017 alone, SRFECC dispatched emergency units over 204,000 times and answered over 350,000

17     emergency calls.

18                3.     On or before March 2014, SRFECC initiated efforts to upgrade and modernize its

19     Northrop Grumman legacy computer aided dispatch system (“Legacy COBOL CAD System”).

20     On or around March 18, 2014, SRFECC issued a Request For Proposal (“RFP”) seeking bids from

21     software vendors that could design, deliver, install, implement, and integrate a Replacement CAD

22     System (hereafter, either “Replacement CAD System” or “Project”).

23                4.     After receiving three competitive bids, SRFECC awarded the contract to a winning

24     bidder, Defendant New World System Corporation (“New World”), which agreed to provide

25     services and furnish licensed products, computer software and documentation, for the design,

26     delivery, installation, implementation, and integration of a Replacement CAD System pursuant to a

27     Software License and Services Agreement (“Agreement”).

28

     00094592.2                                                                                            -2-
                                                                                                 COMPLAINT
     4812-7865-5338.v2
         Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 3 of 17


 1                5.     On or around November 6, 2015, SRFECC and New World entered into the

 2     Agreement. As part of the Agreement, New World was obligated to obtain and provide to the

 3     SRFECC a performance bond in a form acceptable to the SRFECC, which New World did. The

 4     performance bond obtained by New World (the “Performance Bond”) was issued by New World

 5     and U.S. Specialty Insurance Company (“U.S. Specialty”). Among other things, the Performance

 6     Bond obligated U.S. Specialty such that, if New World failed to complete its performance on the

 7     Project or breached the terms set forth in the Agreement, U.S. Specialty would bear responsibility

 8     to the SRFECC for all damages (including liquidated damages) and other costs of the completion

 9     of the Project.

10                6.     On or before the date the Agreement was executed, New World was acquired by

11     Defendant Tyler Technologies, Inc. (“Tyler”) (New World and Tyler are collectively referred to

12     herein as “Defendants”), which became a party to the Agreement with SRFECC’s consent.

13                7.     After more than two years into the Project, SRFECC has paid Defendants

14     $2,128,393.26 for a Replacement CAD System that does not conform to the Agreement.
15     Defendants have failed to meet their Project milestones, they have failed to fulfill even basic

16     requirements such as providing SRFECC timely monthly status reports, and they misrepresented

17     their capabilities as part of the RFP process. Indeed, according to Defendants’ own representative,

18     Tyler’s senior officer and Vice President Kevin Flynn (“Mr. Flynn”), who was at all times the

19     authorized representative of Tyler, it will take Defendants 17-22 years just to deliver a partial and

20     incomplete portion of the Replacement CAD System that Defendants contracted to provide, and

21     which SRFECC (and the Greater Sacramento region) so desperately needs and was expecting to

22     Go-Live to replace its Legacy COBOL CAD System by November 6, 2017.

23                8.     SRFECC has since been informed and believes Defendants have a custom and

24     practice of failing to perform on their contracts with other government agencies and entities.

25                9.     Defendants deliberately misrepresented their capabilities to SRFECC as part of the

26     RFP process, and submitted to SRFECC documents containing misleading and false information,

27     for the purpose of being selected as the vendor for the Project.

28

     00094592.2                                                                                           -3-
                                                                                                 COMPLAINT
     4812-7865-5338.v2
         Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 4 of 17


 1                10. Defendants were aware that they could not perform their obligations under the

 2     Agreement in a timely manner, or at all, but nevertheless intentionally and fraudulently

 3     misrepresented itself to SRFECC and proceeded to submit invoices, Project Management

 4     Workbooks, reports, and other related documents to SRFECC that contained false information.

 5     Defendants also accepted substantial payments totaling $2,128,393.26 from SRFECC for a Project
 6     they knew that they would never be able to complete in a timely manner.

 7                11.    To date, SRFECC’s damages extend well beyond what they have paid to Defendants.

 8     Defendants’ breaches and misconduct have not only injured SRFECC, they have created a

 9     dangerous and imminent public safety problem for the greater Sacramento area. Defendants’

10     misrepresentations and deception have delayed the entire Project more than two years. Defendants’

11     failures have now necessitated a restart of the Project, causing the greater Sacramento area to

12     continue to rely for several more years on its Legacy COBOL CAD System, gradually making the

13     situation worse with age. In effect, Defendants’ conduct has put the lives of people and first

14     responders who service the Sacramento region at risk. In an emergency, a delay of even seconds,

15     let alone minutes, that could have been avoided with a modern CAD System, may be the

16     difference between life and death.

17                                                    PARTIES
18                12.    The SRFECC is a JPA formed under and in accordance with the laws of the State of
19     California, Title 1, Division 7, Chapter 5, Section 6500 et seq., of the California Government

20     Code. The SRFECC is a political subdivision with the authority to prosecute this action in its own

21     name in order to perform all acts necessary to fulfill its mandate, which includes the duty to

22     provide 9-1-1 communications and emergency dispatch services for fire and medical aid calls

23     within its jurisdiction. This includes, by way of illustration and not limitation, the authority to

24     prosecute violations of the California False Claims Act. A true and correct copy of the JPA

25     Agreement is attached hereto as Exhibit 1, and is incorporated by reference.

26                13.    The SRFECC has the authority to direct its general counsel, Mr. Robert Kingsley, and

27     outside counsel, Pillsbury Winthrop Shaw Pittman LLP, to prosecute this action on its behalf under

28     the California False Claims Act.

     00094592.2                                                                                              -4-
                                                                                                 COMPLAINT
     4812-7865-5338.v2
         Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 5 of 17


 1                14.    The SRFECC has passed a resolution that formally endows its general counsel,

 2     Kingsley Bogard LLP and Mr. Robert Kingsley, with prosecuting authority under the California

 3     False Claims Act.

 4                15.    SRFECC is informed and believes, and on that basis alleges, that Defendant Tyler is a

 5     Delaware corporation qualified to do business and doing business in the State of California.

 6                16.    SRFECC is informed and believes, and on that basis alleges, that Defendant New

 7     World is a Michigan corporation no longer qualified to do business in the State of California.

 8                                         JURISDICTION AND VENUE
 9                17.    The Court has jurisdiction over this Complaint pursuant to 28 U.S.C. § 1332 in that

10     SRFECC and Defendants are citizens of different states and the amount in controversy exceeds the

11     jurisdictional requirement.

12                18.    Venue is proper in this Court pursuant to the terms of the Agreement and 28 U.S.C.

13     § 1391(b)(2) in that this Complaint is brought in the judicial district in which substantially all of

14     the events giving rise to the Complaint occurred.

15                             THE PROJECT AND REQUEST FOR PROPOSALS
16                19.    SRFECC dispatches all 9-1-1 emergency fire and medical aid service calls in
17     Sacramento County. On or around March 18, 2014, SRFECC issued an RFP for the Project.
18                20.    On or around March 24, 2015, SRFECC awarded the Project to New World over two
19     other competing firms with close bids.

20                                                THE CONTRACT
21                21.    On or around November 6, 2015, SRFECC and New World entered into the

22     Agreement. A true and correct copy of the Agreement is attached hereto as Exhibit 2, and is

23     incorporated by reference.

24                22.    Attached to the Agreement and incorporated therein are the following twenty

25     Exhibits: A (Pricing and Payment Schedule: System and Support Services), B-1 (New World

26     Recommended: Licensed Software and Documentation), B-2 (New World Recommended: System

27     Hardware Components and Configuration), B-3 (New World Recommended: Interfaces with

28     System Software), B-4 (New World Recommended: Decision Support System (DSS) Third Party

     00094592.2                                                                                            -5-
                                                                                                 COMPLAINT
     4812-7865-5338.v2
         Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 6 of 17


 1     Software License and Implementation Services), B-5 (New World Recommended: System

 2     Training Plan), C (Project Management, Implementation and Training Support Services), D

 3     (References a System Implementation Plan/GANTT Chart/Scope of Work which was to be

 4     determined after contract signing and discussion with Customer), E (Standard Software

 5     Maintenance Agreement (SSMA)), F (Confidentiality Agreement for Third Parties), G (Escrow of

 6     Source Code Software), H (System Change Order Process), I (System Change Orders), J (Periodic

 7     System Testing Criteria and Procedures and Final System Acceptance), K (New World Insurance

 8     Requirements), L-1 (New World Performance Bond), L-2 (Performance Bond), M (New World

 9     Travel Policy), and N (Incorporation by Reference of New World’s Response to Customer’s RFP

10     Software Specifications).

11                                        THE CONSENT AGREEMENT
12                23.    On or around November 6, 2015, SRFECC signed a Consent Agreement pursuant to
13     Section 19.7 of the Agreement. Pursuant to the terms of the Consent Agreement, SRFECC
14     consented “to the stock acquisition of New World by Tyler Technologies, Inc. and the resulting
15     Change of Control Event.” A true and correct copy of the Consent Agreement is attached hereto
16     as Exhibit 3.
17           TYLER’S FAILURE OF PERFORMANCE AND BREACH OF THE CONTRACT
18                24.    Pursuant to Section 1.3 of the Agreement, “Time is of the essence in the performance
19     of each Party’s obligations under this Agreement.” Pursuant to Section 1.2 of the Agreement

20     “[b]oth Customer and New World shall strictly adhere to the timeline set forth in Exhibit D for the

21     installation and integration of the System and shall strictly adhere to the timeline set forth for each

22     milestone component (e.g. Installation) in Exhibit D, System Implementation Plan/GANTT Chart

23     for that particular milestone component.” As required by Exhibit D, the Parties established an

24     agreed-upon Project Management Plan (the GANTT Chart). (See Exhibit 4, dated September 8,

25     2016.)

26                25. After the start of the Project, Defendants failed to submit timely monthly status

27     reports as required by the Agreement. Defendants further failed to make substantial progress

28

     00094592.2                                                                                            -6-
                                                                                                 COMPLAINT
     4812-7865-5338.v2
         Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 7 of 17


 1     toward completing the Project in a timely manner such that the contracted “Replacement CAD

 2     System” would Go-Live by the mutually agreed upon date of November 6, 2017.

 3                26.    Defendants submitted multiple reports throughout the Project that contained false and

 4     misleading information about Defendants’ progress and estimated Project completion.

 5                TYLER’S DECEMBER 2017 MEETING AND PRESENTATION TO SRFECC
 6                27.    The November 6, 2017 Go-Live was cancelled, and the SRFECC’s staff and

 7     consultants continued to meet with Defendants to list the remaining open items required to be

 8     performed by Defendants before a new System Go-Live date could be scheduled. During this

 9     process, SRFECC confirmed that:

10                      Defendants misrepresented the capabilities of its Licensed Standard Software as more
11                       fully described in paragraph 30, infra; and

12                      Defendants’ RFP misrepresentations are a major factor in the Go-Live time delay.
13                       Numerous RFP items identified as “Fail” would require Defendants to modify and/or

14                       create new software programs to provide features which Defendants had earlier

15                       Warranted (certified) to SRFECC as already in existence (at existing clients) for over

16                       a year’s time prior to Defendants’ RFP submittal.

17                28.    Because of the Go-Live cancellation, SRFECC sought assurances from Defendants

18     that it would complete the Project in a timely manner. In response to the SRFECC’s request for

19     assurances, Mr. Flynn made a presentation to SRFECC on December 7, 2017. A true and correct

20     copy of the Power Point presentation by Mr. Flynn is attached hereto as Exhibit 5.

21                29.    Mr. Flynn’s PowerPoint incorrectly represented the number of “Fail” items (which

22     Mr. Flynn labeled “Open”), and the RFP Technical Requirement reference numbers associated

23     with the “Fail” items. As a result, the Project Managers for the SRFECC and Tyler (Ms. Diane

24     House and Mr. David Bonini, respectively) met to reconcile the status of “Fail” items. The parties’

25     agreed-upon list of the “Fail” RFP items is memorialized in a document, a true and correct copy of

26     which is attached as Exhibit 6, which identifies a total of 239 “Fail” RFP items.

27                30.    Based on the agreed-upon list of 239 “Fail” RFP items, SRFECC created Exhibit 7,

28     which lists only those “Fail” RFP items which Defendants designated “Fully Comply” in their RFP

     00094592.2                                                                                             -7-
                                                                                                  COMPLAINT
     4812-7865-5338.v2
         Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 8 of 17


 1     response. Those one hundred seventy-two (172) RFP Warranty “Fails” are set forth in Exhibit 7, a

 2     true and correct copy of which is attached hereto.

 3                31.    According to Mr. Flynn, it would take 33,900 additional development hours to

 4     address not all of the RFP “Fails,” but only those RFP items that Defendants, not SRFECC, had

 5     identified as Project priorities.

 6                32.    According to Mr. Flynn, Tyler’s CAD Development Team has available to it

 7     approximately 3,000 hours each year (across their entire public safety customer base) to develop

 8     and enhance its Licensed Standard Software for CAD. Mr. Flynn, on behalf of Tyler, could not

 9     commit the entire 3,000 hours per year to satisfy SRFECC requirements. Mr. Flynn estimated that

10     Defendants could commit between 1,500 and 2,000 hours per year to SRFECC open items. At this

11     rate of “development,” it would take between 16.95 years (33,900 ÷ 2,000) and 22.6 years (33,900

12     ÷ 1,500) to deliver a partial CAD system.

13                33.    According to Mr. Flynn, even after 20+ years, Defendants still could not deliver a

14     complete, fully functional version of the CAD system that Defendants contracted to provide to

15     SRFECC.

16                                    NOTICE OF BREACH OF WARRANTY
17                34.    On March 19, 2018, by and through counsel, SRFECC sent Tyler a Notice of Breach
18     of Warranty. A true and correct copy of the Notice, excluding attachments, is attached hereto as
19     Exhibit 8.

20                                                 NOTICE OF DEFAULT
21                35.    By and through counsel, SRFECC sent Tyler and its Surety, Tokio Marine HCC,

22   Notices of Default. True and correct copies of the Notices are attached hereto as Exhibits 9A and

23   9B.

24                                          FIRST CLAIM FOR RELIEF
25                                  (Breach of Contract, Against All Defendants)
26                36.    SRFECC refers to and incorporates by reference paragraphs 1 through 35 above as

27     though fully set forth herein.

28

     00094592.2                                                                                               -8-
                                                                                                  COMPLAINT
     4812-7865-5338.v2
         Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 9 of 17


 1                37. SRFECC entered into the Agreement with New World in reliance on their RFP

 2     response. On November 6, 2015, SRFECC consented to the Change of Control from New World

 3     to Tyler. (See Exhibit 3.)

 4                38.    SRFECC has performed all obligations and conditions required of it pursuant to the

 5     terms of the Agreement, except as said performance has been waived, excused or prevented by

 6     Tyler or New World.

 7                39.    On or around November 14, 2015, Defendants invoiced SRFECC $761,440.00 for

 8     five years of pre-paid standard software maintenance services, despite having knowledge that it

 9     was not capable of completing the Project in a timely manner. SRFECC paid Defendants

10     $761,440.00 on or around December 9, 2015 pursuant to this invoice.

11                40.    On or around November 18, 2015, Defendants invoiced SRFECC $443,047.00, for

12     Licensed Standard Software, despite having knowledge that it was not capable of completing the

13     Project in a timely manner. On or around that same day, Defendants invoiced SRFECC a total of

14     $194,524.76 (and $13,374.76) for purported third-party products, services, and the performance

15     bond, despite having knowledge that it was not capable of completing the Project in a timely

16     manner. On or around December 9, 2015, SRFECC paid Defendants $443,047.00 and

17     $194,524.76 (plus $13,374.76 in taxes), respectively.

18                41.    On or around May 6, 2016, Defendants invoiced SRFECC $443,048.00 for Licensed

19     Standard Software, despite having knowledge that it was not capable of completing the Project in a

20     timely manner. On or around June 22, 2016, SRFECC paid Defendants the charged amount

21     pursuant to this invoice.

22                42.    On or around September 15, 2016, Defendants invoiced SRFECC $158,164.00 for a

23     progress payment for purportedly completing GANTT Step 3 – Approval of the Project Plan,

24     despite having knowledge that it was not capable of completing the Project in a timely manner.

25     On November 1, 2016, SRFECC paid Defendants the charged amount pursuant to this invoice.

26                43. On or around October 12, 2016, Defendants invoiced SRFECC $28,969.50 (and

27     $2,269.50 in taxes) for a purported third-party licensed product, despite having knowledge that it

28

     00094592.2                                                                                          -9-
                                                                                                COMPLAINT
     4812-7865-5338.v2
        Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 10 of 17


 1     was not capable of completing the Project in a timely manner. On or around November 2, 2016,

 2     SRFECC paid Defendants the charged amount pursuant to this invoice.

 3                 44.   On or around January 31, 2017, Defendants invoiced SRFECC $98,900.00 for a

 4     progress payment for purportedly completing GANTT Step 4 – Install and Standard Configuration,

 5     despite having knowledge that it was not capable of completing the Project in a timely manner.

 6     On or around March 1, 2017, SRFECC paid Defendants the charged amount pursuant to this

 7     invoice.

 8                 45.   On or around August 24, 2017, Defendants invoiced SRFECC $300.00 for a

 9     purported third-party product, despite having knowledge that it was not capable of completing the

10     Project in a timely manner. On or around that same day, SRFECC paid this invoiced amount.

11                 46.   To date, SRFECC has paid Defendants $2,128,393.26 and has not yet received the

12     Replacement CAD System that Defendants contracted to provide.

13                 47.   SRFECC has also done everything reasonable to try to mitigate its damages.

14     SRFECC’s damages also include:

15               As specified by Defendants, purchased hardware that may not be compatible with an
16                equivalent future CAD system (approximately $500,000);

17               Amounts paid for RFP consulting (approximately $100,000);
18               Legal fees and costs associated with the RFP process and contract negotiations between
19                SRFECC and New World (approximately $100,000);

20               Legal fees and costs associated with drafting legal documents associated with Defendants’
21                breach ($70,000 through the end of April 2018);

22               Costs associated with SRFECC issuing a new RFP (approximately $200,000);
23               Legal fees and costs associated with enforcing the Agreement and drafting this Complaint
24                ($75,000);

25               The costs associated with obtaining an equivalent future CAD system, features, and
26                components according to the same specifications (approximately $4,000,000.00);

27               Costs associated with upkeep and maintenance on the existing Legacy COBOL CAD System
28                ($500,000.00 to $1,500,000.00);

     00094592.2                                                                                            -10-
                                                                                                 COMPLAINT
     4812-7865-5338.v2
        Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 11 of 17


 1               SRFECC’s Project consultant fees necessary for this Project with Defendants ($150,000.00
 2                to $200,000.00); and,
 3               Overtime wages paid to employees of Member Agencies for CAD build time incurred as a
 4                result of Defendants’ delays and incompetence ($150,000 to $200,000).
 5                 48.   These damages are in addition to other damages in amounts to be proven at trial.
 6                WHEREFORE, the SRFECC prays for judgment as hereinafter set forth.
 7                                         SECOND CLAIM FOR RELIEF
 8       (Statutory Unfair Competition: Cal. Bus. & Prof. Code Section 17200 et seq., Against All
 9                                                     Defendants)
10                 49.   SRFECC refers to and incorporates by reference paragraphs 1 through 48 above as
11     though fully set forth herein.
12                 50.   SRFECC has suffered significant losses on account of Defendants’ action and
13     inaction. Defendants’ conduct has jeopardized a timely and necessary upgrade to SRFECC’s
14     Legacy COBOL CAD System, which serves more than 1.5 million people in the greater
15     Sacramento area.
16                 51.   Defendants have repeatedly engaged in violations of California’s Unfair Competition
17     Laws, Bus. & Prof. Code § 17200 et seq., by:
18                      Failing to fulfill their contractual agreements made pursuant to the RFP process;
19                      Wrongfully, unreasonably, and without justification asserting that they were and are
20                       capable of performing their obligations under the Agreement in a timely manner; and,
21                      Giving greater consideration to their own interests than to those of SRFECC and the
22                       public and first responders it serves.
23                 52.   Defendants did these things and committed the acts alleged above without adequate
24     justification in law or fact, and Defendants’ acts are those of a business acting in bad faith and thus
25     constitute violations of California’s Unfair Competition Laws.
26                 53.   As a direct and proximate result of Defendants’ misconduct, SRFECC has suffered,
27     and will continue to suffer, the loss of the benefit of receiving the design, delivery, installation,
28     implementation, and integration of the Replacement CAD System for which SRFECC paid
     00094592.2                                                                                              -11-
                                                                                                  COMPLAINT
     4812-7865-5338.v2
        Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 12 of 17


 1     Defendants approximately $2,128,393.26, as well as other amounts to be determined at trial and,

 2     unless enjoined from doing so, Defendants will likely continue to engage in unfair business tactics

 3     in dealing with SRFECC and other public agencies seeking assistance with their public safety

 4     systems, and continue to create an imminent danger to the public, even death.

 5                WHEREFORE, the SRFECC prays for judgment as hereinafter set forth.

 6                                          THIRD CLAIM FOR RELIEF
 7                                                      (FRAUD)
 8                 54.   SRFECC refers to and incorporates by reference paragraphs 1 through 53 above as

 9     though fully set forth herein.

10                 55.   The RFP identified and specifically described the features and functions (“Technical

11     Requirements”) of the Replacement CAD System and sought assurances that the vendor would

12     deliver a CAD system meeting those Technical Requirements. Each bidder was required to specify

13     (concerning each RFP requirement) whether its Licensed Standard Software was: (1) Fully

14     Comply; (2) Partially Comply; (3) Comply with Modifications; (4) Comply in Future; (5)

15     Substitution; or (6) Exception. A vendor Warranty of “Fully Comply” meant that the vendor’s

16     Licensed Standard Software currently provided the feature (or functions as described), and had

17     been in use at existing client locations for a period of at least one (1) year from the date of proposal

18     submission, not in beta testing.

19                 56.   On or around May 16, 2014, New World submitted a bid that misrepresented the

20     capabilities of its Licensed Standard Software and falsely warranted (certified) that many of its

21     Licensed Standard Software features were “Fully Comply” with the RFP requirements.

22                 57.   The parties mutually agreed the Center’s Replacement CAD System would Go-Live

23     by November 6, 2017. This agreement was memorialized in the GANTT Chart that is attached as

24     Exhibit 4).

25                 58.   New World knew, at the time it submitted its bid, that it could not timely deliver a

26     Replacement CAD System that included all of the items it had marked “Fully Comply” in its RFP

27     Response within an 18 to 24-month period. Mr. Flynn confirmed this fact on December 7, 2017

28     when he described “development” hours available.

     00094592.2                                                                                            -12-
                                                                                                   COMPLAINT
     4812-7865-5338.v2
        Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 13 of 17


 1                59.    On May 16, 2014, the date of its RFP response, New World intentionally

 2     misrepresented the capabilities of its Licensed Standard Software in the RFP by marking “Fully

 3     Comply” on itemized technical requirements that did not comply in order to win the bid.

 4                60.    SRFECC justifiably relied on Defendants’ representations that Defendants would

 5     provide software that met the Technical Requirements described in the RFP when it accepted New

 6     World’s bid and when it entered the Agreement for the purchase of the Replacement CAD System.

 7                61.    On May 16, 2014, New World falsely warranted that its Licensed Standard Software

 8     met the items coded “Fully Comply” in New World’s Response to SRFECC’s RFP as described in

 9     Exhibit N to the Agreement.

10                62.    On November 6, 2015, New World/Tyler falsely warranted that its Licensed Standard

11     Software met the items coded “Fully Comply” in New World’s Response to SRFECC’s RFP as

12     described in Exhibit N to the Agreement.

13                63.    Defendants intentionally misrepresented the capabilities of Licensed Standard

14     Software when it entered the Agreement and Consent Agreement with SRFECC in order to induce

15     SRFECC to enter the Agreement with Defendants and pay Defendants money under the

16     Agreement.

17                64.     New World/Tyler acknowledged and confirmed RFP Warranty “Fails” on numerous

18     occasions, including (by way of illustration and not limitation) in multiple exchanges of the RFP

19     File (the final copy of which is Exhibit 6); in a meeting agenda for the week of August 28, 2017,

20     appointing two full days to review “Failed RFP Areas”; in the onsite visit on November 16, 2017

21     to review 82 RFP failed items; and in Mr. Flynn’s presentation on December 7, 2017 (Exhibit 5).

22                65.     Of the 239 agreed-upon fails (Exhibit 6), Exhibit 7 identifies one hundred seventy-

23     two (172) RFP Warranty Fails that New World/Tyler misrepresented as “Fully Comply.”

24                66.    SRFECC reasonably relied on New World’s/Tyler’s false representations regarding

25     the capabilities of Defendants’ Licensed Standard Software when it accepted New World’s bid and

26     when it entered the Agreement and Consent Agreement with them.

27                67.    SRFECC would not have accepted the bid or entered the Agreement if it had known

28     the representations therein were false.

     00094592.2                                                                                           -13-
                                                                                                  COMPLAINT
     4812-7865-5338.v2
        Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 14 of 17


 1                 68.   To date, SRFECC has been harmed because it has paid Defendants $2,128,393.26 and

 2     has not received the Replacement CAD System that Defendants contracted to provide. SRFECC

 3     also has expended considerable funds that it would not have spent if Defendants had not made

 4     misrepresentations, such as is alleged in paragraph 47:

 5               As specified by Defendants, purchased hardware that may not be compatible with a
 6                replacement CAD system (approximately $500,000);

 7               Amounts paid for RFP consulting (approximately $100,000);
 8               Legal fees and costs associated with the RFP process and contract negotiations between
 9                SRFECC and New World (approximately $100,000);

10               Legal fees and costs associated with drafting legal documents associated with Defendants’
11                breach ($70,000 through the end of April 2018);

12               Costs associated with SRFECC issuing a new RFP (approximately $200,000);
13               Legal fees and costs associated with enforcing the Agreement and drafting this Complaint
14                ($35,000);

15               The costs associated with obtaining an equivalent future CAD system, features, and
16                components according to the same specifications (approximately $4,000,000.00);

17               Costs associated with upkeep and maintenance on existing Legacy COBOL CAD system
18                ($500,000.00 to $1,500,000.00);

19               SRFECC’s Project consultant fees necessary for this Project with Defendants ($150,000.00
20                to $200,000.00); and,

21               Overtime wages paid to employees of Member Agencies for CAD build time incurred as a
22                result of Defendants’ delays and incompetence ($150,000 to $200,000).

23                 69.   Furthermore, as a result of Defendants’ misrepresentations, SRFECC has suffered,

24     and will continue to suffer, the loss of the benefit of receiving the design, delivery, installation,

25     implementation, and integration of a modernized Replacement CAD System for which SRFECC

26     paid Defendants approximately $2,128,393.26, as well as other amounts to be determined at trial.
27

28

     00094592.2                                                                                            -14-
                                                                                                  COMPLAINT
     4812-7865-5338.v2
        Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 15 of 17


 1                                        FOURTH CLAIM FOR RELIEF
 2                                  (Violation of the California False Claims Act
 3                California Government Code Section 12651 et seq., Against All Defendants)
 4                70.    SRFECC refers to and incorporates by reference paragraphs 1 through 69 above as

 5     though fully set forth herein.

 6                71.    This is a claim for treble damages and forfeitures under the False Claims Act, Cal.

 7     Gov’t Code §§12650 et seq.

 8                72.    Through the acts described above, Defendants, their agents and employees,

 9     knowingly presented and caused to be presented false and fraudulent claims to the SRFECC, a

10     government agency, and knowingly failed to disclose material facts, in order to obtain payment
11     and approval from the SRFECC. Defendants also misrepresented services and deliverables they
12     would provide to SRFECC. But in fact defendants knew they were unable to provide pursuant to
13     the Agreement.
14                73.    As part of the bidding process, Defendants made false representations about the
15     capabilities of its Licensed Standard Software. SRFECC, unaware of the falsity of the claims
16     made and submitted by Defendants, their agents, and employees, and as a result thereof, paid
17     money that it otherwise would not have paid.
18                74.    On account of the Agreement and RFP process, including “Project” milestones,
19     Defendants knowingly presented or caused to be presented to SRFECC false claims for approval,

20     thereby violating Gov. Code §§12651(a)(1). Defendants, their agents or employees,’ had actual

21     knowledge, deliberate ignorance of the truth or falsity, or acted in reckless disregard for truth or

22     falsity, when Defendants submitted a bid pursuant to the RFP process, entered the Agreement, and

23     submitted claims for milestone payments and invoices for third-party licensed products.

24                75.    The False Claims Act violations by Defendants, as alleged above, have been the

25     proximate cause of damages to SRFECC in an amount that is not less than $2,400,000.00. By

26     reason of Defendants’ violations of the False Claims Act, the SRFECC is entitled to recover treble

27     damages. In addition to treble damages, the SRFECC is entitled to recover a civil penalty of up to

28     $11,000, as adjusted by the Federal Civil Penalties Inflation Adjustment Act of 1990, for each of

     00094592.2                                                                                            -15-
                                                                                                  COMPLAINT
     4812-7865-5338.v2
           Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 16 of 17


 1     the individual false claims committed by Defendants. The precise amount of the SRFECC’s

 2     damages on account of Defendants’ violations of the False Claims Act are not precisely known at

 3     this time, but equal or exceed $2,400,000.00. The SRFECC is continuing to investigate

 4     Defendants’ violations of the False Claims Act and will seek leave of Court to amend this

 5     Complaint to state the precise amount of its damages when known.

 6                WHEREFORE, the SRFECC prays for judgment as hereinafter set forth.

 7                                             PRAYER FOR RELIEF
 8                WHEREFORE, the SRFECC prays for relief as follows:

 9                 76.   With respect to the First Claim for Relief for damages, including but not limited to

10     cost to complete, cost to cover, cost of repair, and liquidated damages, and interest that Tyler owes

11     the SRFECC, all in an amount to be proven at trial;

12                 77.   With respect to the Second Claim for Relief for restitution of monies paid to

13     Defendants as a result of Defendants’ unfair competition practices, plus interest, all according to

14     proof at the time of trial; and for a permanent injunction, enjoining Defendants from engaging in

15     such unfair competition and business practices;

16                 78.   With respect to the Third Claim for Relief for compensatory and punitive damages, in

17     an amount to be proven at trial;

18                 79.   With respect to the Fourth Claim for Relief for damages of monies in an amount that

19     is not less $2,400,000, plus interest, in addition to treble damages, and a civil penalty of up to

20     $11,000 for each of the individual false claims committed by Defendants;

21                 80.   For reasonable attorneys’ fees incurred by SRFECC in this Action, and

22   ///

23   ///

24   ///

25   ///

26   ///

27   ///

28   ///

     00094592.2                                                                                             -16-
                                                                                                   COMPLAINT
     4812-7865-5338.v2
        Case 2:18-cv-01792-KJM-KJN Document 1 Filed 06/22/18 Page 17 of 17


 1                81.    For such other and further relief as the Court deems just and proper.

 2
      Dated: June 22, 2018                                        PILLSBURY WINTHROP SHAW
 3                                                                PITTMAN LLP
 4
                                                                /s/ Philip S. Warden
 5                                                          By: PHILIP S. WARDEN
                                                                ROBERT E. KINGSLEY, Prosecuting
 6                                                              Authority
                                                                Attorneys for Plaintiff
 7                                                              SACRAMENTO REGIONAL PUBLIC
                                                                SAFETY COMMUNICATIONS CENTER
 8                                                              D/B/A SACRAMENTO REGIONAL
                                                                FIRE/EMS COMMUNICATIONS
 9                                                              CENTER
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     00094592.2                                                                                       -17-
                                                                                                 COMPLAINT
     4812-7865-5338.v2
